             AO 245D                                 (Rev. 09/19) Judgment in a Criminal Case For Revocation of Supervised Release
                                                     Sheet 1
Cover Page
             [LastName] Evan Mullen RevocationJN C
             AO 245D                                 Judgment in a Criminal Case                          For Revocatio n of Supervised Release




                                                                                           UNITED STATES DISTRICT COURT
                                                                                                                                                  District of Alaska
                                                     UNITED STATES OF AMERICA                                                                              JUDGMENT IN A CRIMINAL CASE
                                                                v.                                                                                         (For Revocation of Supervised Release)
                                                           EVAN MULLEN                                                                                     Case Number:              3:16-CR-00013-001-SLG
                                                                                                                                                           USM Number:               19406-006
                                                                                                                                                           T. Burke Wonnell
                                                                                                                                                           Defendant’s Attorney
             THE DEFENDANT:

             ☒ admitted guilt to violation of condition(s)                                                           Violations 1 through 10 (Dkt. 94)                                       of the term of Supervised Release.

             ☐ was found in violation of condition(s) and counts                                                                                                                                     after denial of guilt.

             The defendant is adjudicated guilty of these violations:

             Violation Number                                                      Nature of Violation                                                                                                        Violation Ended
                      1                                                            Falsified drug test                                                                                                           4/24/2019
                      2                                                            Drug use (marijuana)                                                                                                          5/08/2019
                      3                                                            Failure to report for drug test                                                                                               5/20/2019
                      4                                                            Unauthorized contact with felon                                                                                               5/24/2019
                      5                                                            New criminal offense (MICS 3)                                                                                                 5/24/2019
                      6                                                            New criminal offense (MICS 4)                                                                                                 5/24/2019


             The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
             Sentencing Reform Act of 1984.
             ☐ The defendant has not violated condition(s)                                                                                                                          and is discharged as to such violation(s).
             It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
             or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
             restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.

             Last Four Digits of Defendant’s Soc. Sec. No.: 8665                                                                                          11/3/2020
                                                                                                                                                          Date of Imposition of Judgment
             Defendant’s Year of Birth:                                                  1988
             City and State of Defendant’s Residence:

                           Homer, Alaska                                                                                                                   /s/ Sharon L. Gleason
                                                                                                                                                          Signature of Judge


                                                                                                                                                          Sharon L. Gleason, United States District Judge
                                                                                                                                                          Name and Title of Judge

                                                                                                                                                           11/12/2020
                                                                                                                                                          Date
              Sheet 1




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                        AO 245D    (Rev. 09/19) Judgment in a Criminal Case For Revocation of Supervised Release
                                   Sheet 1A

                                                 EVAN MULLEN                                                       Judgment — Page 2 of 5
                        DEFENDANT:
                        CASE NUMBER:             3:16-CR-00013-001-SLG
Additional Violations




                        Sheet 1A
                                                                          ADDITIONAL VIOLATIONS
                                                                                                                        Violation
                        Violation Number        Nature of Violation                                                     Concluded
                        7                       New criminal offense (Promote Contraband)                                5/24/2019
                        8                       New criminal offense (MIW 2)                                             5/24/2019
                        9                       New criminal offense (MIW 3)                                             5/24/2019
                        10                      New criminal offense (Promote contraband)                                5/25/2019




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               AO 245D                           (Rev. 09/19) Judgment in a Criminal Case For Revocation of Supervised Release
                                                 Sheet 2 — Imprisonment

                                                               EVAN MULLEN                                                                           Judgment — Page 3 of 5
               DEFENDANT:
               CASE NUMBER:                                    3:16-CR-00013-001-SLG
Imprisonment




               Sheet 2 — I mprison ment
                                                                                                  IMPRISONMENT
               The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

               2 YEARS to be served concurrently with State of Alaska case 3KN-19-00787CR, with no term of supervised release to
               follow.


                 ☒ The court makes the following recommendations to the Bureau of Prisons:
                                          Court recommends the defendant serve his sentence in Alaska.


                 ☐ The defendant is remanded to the custody of the United States Marshal.

                 ☐ The defendant shall surrender to the United States Marshal for this district:
                                          ☐ at                                ☐ a.m.       ☐ p.m. on                                                      .
                                          ☐ as notified by the United States Marshal.

                 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                                          ☐ before 2 p.m. on                                                    .
                                          ☐ as notified by the United States Marshal.
                                          ☐ as notified by the Probation or Pretrial Services Office.

                                                                                                          RETURN
               I have executed this judgment as follows:




               Defendant delivered on                                                                                       to

               at                                                                  , with a certified copy of this judgment.



                                                                                                                                    UNITED STATES MARSHAL

                                                                                                             By
                                                                                                                                 DEPUTY UNITED STATES MARSHAL




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                         AO 245D                            (Rev. 09/19) Judgment in a Criminal Case For Revocation of Supervised Release
                                                            Sheet 5 — Criminal Monetary Penalties

                                                                          EVAN MULLEN                                                                                 Judgment — Page 4 of 5
                         DEFENDANT:
                         CASE NUMBER:                                     3:16-CR-00013-001-SLG
Crimina l Moneta ry Pena lties




                                                                                           CRIMINAL MONETARY PENALTIES
                                                    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
          Sheet 5 — Criminal M onetary Penalties




                                                                                                                                                AVAA                JVTA
                                                                  Assessment*               Restitution                Fine                     Assessment**        Assessment***
          TOTALS                                                $ 200.00                 $ 3,767.98                $                        $                   $

          ☐ The determination of restitution is deferred until                                                                   . An Amended Judgment in a Criminal Case (AO 245C)
            will be entered after such determination.

          ☒ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
                                                   If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
                                                   specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
                                                   all nonfederal victims must be paid before the United States is paid.


                     Name of Payee                                                               Total Loss****                     Restitution Ordered        Priority or Percentage
                     Comenity Bank                                                                     $1,248.51                               $1,248.51                100%
                     Chase Bank                                                                          $406.27                                 $406.27                100%
                     Bank of America                                                                   $1,419.16                               $1,419.16                100%
                     American Express                                                                    $500.00                                 $500.00                100%
                     Northern Skies FCU                                                                  $194.04                                 $194.04                100%



                     TOTALS                                                                              $3,767.98                                 $3,767.98

              ☒ Restitution amount ordered pursuant to plea agreement                                                      $3,767.98

              ☒ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
                before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
                Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
              ☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                                                   ☐ the interest requirement is waived for the ☐ fine ☐ restitution
                                                   ☐ the interest requirement for the ☐ fine ☐ restitution is modified as follows:




              *    Special assessment has been partially paid in the amount of $115.00 and restitution remains outstanding.
              ** Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299
              *** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
              **** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
                   committed on or after September 13, 1994, but before April 23, 1996




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                        AO 245D                              (Rev. 09/19) Judgment in a Criminal Case For Revocation of Supervised Release
                                                             Sheet 6 — Schedule of Payments

                                                                           EVAN MULLEN                                                                                  Judgment — Page 5 of 5
                        DEFENDANT:
                        CASE NUMBER:                                       3:16-CR-00013-001-SLG
Schedule of Payment s




                        Sheet 6 — Schedule of Payments
                                                                                                    SCHEDULE OF PAYMENTS
                        Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

                  A ☒                                    Lump sum payment of $3,892.98                               due immediately, balance due
                                                           ☐not later than                           , or
                                                           ☒In accordance with ☐ C, ☐ D, ☐ E, or ☒ F below; or
                   B ☐                                   Payment to begin immediately (may be combined with ☐ C, ☐ D, or ☐ F below); or

                   C ☐                                   Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                    over a period
                                                         of                    (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this
                                                         judgment; or

                  D ☐                                    Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                    over a period
                                                         of                    (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from
                                                         imprisonment to a term of supervision; or

                   E ☐ Payment during the term of supervised release will commence within                                                (e.g., 30 or 60 days) after release from
                                                         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

                    F ☒ Special instructions regarding the payment of criminal monetary penalties:
                       
                         Any unpaid amount is to be paid during the period of supervision in monthly installments of not less than 10% of the defendant’s
                         gross monthly income or $25, whichever amount is greater. Interest shall not be waived.

                        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
                        due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
                        Prisons’ Inmate Financial Responsibility Program are made to the United States District Court, District of Alaska. For restitution
                        payments, the Clerk of the Court is to forward money received to the party(ies) designated to receive restitution specified on the Criminal
                        Monetary Penalties (Sheet 5) page.

                        The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

               ☐Joint and Several

                             Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
                              and corresponding payee, if appropriate.
                            
               ☐The defendant shall pay the cost of prosecution.


               ☐The defendant shall pay the following court cost(s):


               ☐The defendant shall forfeit the defendant’s interest in the following property to the United States:


                 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
                 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of
                 prosecution and court costs.


                                                                Case 3:16-cr-00013-SLG-DMS Document 124 Filed 11/12/20 Page 5 of 5
